917 F.2d 557Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Lynn BROWN, Plaintiff-Appellant,v.COMMONWEALTH OF VIRGINIA, United States Department ofJustice, Glen E. Conrad, United States Magistrate,Defendants-Appellees.
    No. 90-6886.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 1, 1990.Decided Nov. 1, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-90-468-R)
      Michael Lynn Brown, appellant pro se.
      W.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Michael Lynn Brown appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Virginia, CA-90-468-R (W.D.Va. Aug. 16, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    